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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-24619-CIV-ALTONAGA/Torres

 POET THEATRICALS MARINE,
 LLC; et al.,

        Plaintiffs,
 v.

 CELEBRITY CRUISES, INC.; et al.,

       Defendants.
 ________________________________/

                                            ORDER

        THIS CAUSE came before the Court on Defendants, Cruises Inc., Cruise One, Inc., Cruise

 One, Inc. d/b/a/ Dream Vacations, Tourico Holidays Inc., World Travel Holdings d/b/a

 Cruises.com, World Travel Holdings d/b/a Cruises Only, World Travel Holdings d/b/a

 CheapCruises.com, and Direct Line Cruises, Inc.’s (“Travel Agency Defendants[’]”) Unopposed

 Motion for Extension of Time, filed on November 9, 2020 in the Circuit Court of the Eleventh

 Judicial Circuit in and for Miami-Dade County, Florida. (See [ECF No. 1-2] 88–90). Defendants

 advise Plaintiffs “have agreed to allow the[se] . . . Defendants to respond to the Complaint by

 December 19, 2020[.]” (Id. 89 (alterations added)).

        ORDERED AND ADJUDGED that the Travel Agency Defendants’ Unopposed Motion

 for Extension of Time (see [ECF No. 1-2] 88–90) is GRANTED. Celebrity Cruises, Inc., Royal

 Caribbean Cruises, Ltd., and the Travel Agency Defendants shall submit a single, combined

 response or separate answers by December 19, 2020.
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        DONE AND ORDERED in Miami, Florida, this 18th day of November, 2020.



                                              __________________________________
                                              CECILIA M. ALTONAGA
                                              UNITED STATES DISTRICT JUDGE
 cc:   counsel of record




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